Case 2:19-cv-00142-SPC-MRM Document 9 Filed 04/09/19 Page 1 of 7 PageID 73



                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                  FORT MYERS DIVISION

STRIKE 3 HOLDINGS, LLC, a limited
liability company,

       Plaintiff,

v.                                                    Case No.: 2:19-cv-142-FtM-38MRM

JOHN DOE,

       Defendant.
                                              /

                                              ORDER

       Pending before the Court is Plaintiff Strike 3 Holdings, LLC’s Motion for Leave to Serve

a Third-Party Subpoena Prior to Rule 26(f) Conference, filed on March 27, 2019. (Doc. 8).

Plaintiff alleges a copyright infringement of Plaintiff’s motion pictures by an unnamed

Defendant. (Doc. 1 at 1). In the Motion sub judice Plaintiff seeks to serve a third-party

subpoena on Doe Defendant’s internet service provider, Comcast Cable Communications, LLC,

to “learn Defendant’s identity, investigate Defendant’s role in the infringement, and if warranted

by the investigation, effectuate service.” (Doc. 8 at 3).

       As background, Plaintiff is an adult film production company owning award-winning

adult motion pictures. (Doc. 1 at 1). Plaintiff alleges that Defendant is using BitTorrent

protocol, a file sharing program, to illegally download and distribute Plaintiff’s films without its

permission and, thus, is infringing on Plaintiff’s copyright. (Id. at 6). In support, Plaintiff

contends that it used an investigator to establish direct connections with Defendant’s IP address

while Defendant utilized the BitTorrent file to download one or more of Plaintiff’s films. (Id.).

Defendant then allegedly copied and distributed a complete copy of Plaintiff’s film without its

permission. (Id.).
Case 2:19-cv-00142-SPC-MRM Document 9 Filed 04/09/19 Page 2 of 7 PageID 74



       In the Motion sub judice, Plaintiff contends that it only has Defendant’s IP address and

that the only party that has the information correlating the IP address with Defendant’s identity is

the internet service provider. (Doc. 8 at 2). Thus, Plaintiff argues that the subpoena is necessary

to obtain Defendant’s name and address. (See id. at 3).

       Pursuant to M.D. Fla. R. 3.05(c)(2)(B), discovery is normally not permitted prior to the

case management meeting. Further, Fed. R. Civ. P. 26(d)(1) provides that “[a] party may not

seek discovery from any source before the parties have conferred as required by Rule 26(f),

except in a proceeding exempted from initial disclosure under Rule 26(a)(1)(B), or when

authorized by these rules, by stipulation, or by court order.” The Court may permit expedited

discovery prior to the discovery conference when good cause is shown. Manny Film LLC v.

Doe, No. 8:15-cv-507-T-36EAJ, 2015 WL 12850566, at *1 (M.D. Fla. May 18, 2015). In

determining whether good cause exists in cases involving infringement through the internet,

courts consider factors such as: “the concreteness of the plaintiff’s prima facie case of

infringement; the specificity of the discovery request; the absence of alternative means to obtain

the subpoenaed information; and the need for the subpoenaed information to advance the claim.”

Id. (citing Arista Records, LLC v. Doe 3, 604 F.3d 110, 119 (2d Cir. 2010)). The Court considers

each factor in turn to determine if good cause exists to permit expedited discovery.

       First, the Court considers the concreteness of Plaintiff’s prima facie case. To state a

claim for copyright infringement, Plaintiff must allege “(1) ownership of a valid copyright[] and

(2) copying of constituent elements of the work that are original.” Feist Publ’ns, Inc. v. Rural

Tel. Serv. Co., 499 U.S. 340, 361 (1991) (citing Harper & Row Publishers, Inc. v. Nation

Enters., 471 U.S. 539, 548 (1985)). Plaintiff contends that it stated a claim for copyright

infringement in its Complaint by alleging that “Plaintiff is the owner of the Works, which [are]




                                                 2
Case 2:19-cv-00142-SPC-MRM Document 9 Filed 04/09/19 Page 3 of 7 PageID 75



an original work of authorship, . . . [that D]efendant copied and distributed the constituent

elements of Plaintiff’s Works using the BitTorrent protocol,” and that Plaintiff never authorized

or consented to Defendant’s distribution. (Doc. 8 at 7-8 (first alteration in original) (quoting

Doc. 1 ¶¶ 35-37)). Plaintiff argues that these allegations are supported by Plaintiff’s investigator

and that each file has been verified to be a copy of Plaintiff’s copyrighted works. (Id. at 8).

Additionally, Plaintiff contends that it “owns a valid copyright in the Works, which are

registered with the United States Copyright Office.” (Id.). Upon consideration of Plaintiff’s

arguments and the Complaint, the Court finds that Plaintiff has made a concrete, prima facie

claim for infringement.

       Additionally, the Court finds that Plaintiff’s request is specific because Plaintiff’s

subpoena “will only demand the true name and address of Defendant.” (Id. at 3). Indeed, a

request is specific when limited to only the basic information such as name and address. Manny

Film LLC, 2015 WL 12850566, at *2.

       As to the third factor, whether there are alternative means to obtain the information,

Plaintiff essentially argues that when people use the internet, only the IP address is discoverable

and that only the internet service provider can match the IP address with the individual because

“there is no public registry of what IP addresses correspond to which subscribers.” (See Doc. 8

at 9-10). Additionally, Plaintiff contends that the internet service providers do not retain the user

activity log for an extended period of time. (Id. at 10). Thus, Plaintiff argues that if it cannot

subpoena Comcast, it will lose its ability to uncover Defendant’s identity. (Id.). The Court finds

that due to the nature of IP addresses, there is no other means by which Plaintiff could discover

Defendant’s identity.




                                                  3
Case 2:19-cv-00142-SPC-MRM Document 9 Filed 04/09/19 Page 4 of 7 PageID 76



        With regard to the final factor, whether the information is necessary to advance the claim,

Plaintiff argues that it “cannot properly serve Doe Defendant without first ascertaining the

subscriber’s identity from his or her” internet service provider. (Id. at 11). Plaintiff appears to

contend that this information advances its claim because it is essential to its ability to pursue this

litigation. (See id.). The Court finds that Defendant’s name and address are necessary to

advancing Plaintiff’s claim because Plaintiff has alleged a prima facie case of infringement but

needs Defendant’s identity to pursue it and that the third-party subpoena is the only way to

obtain this information.

        In sum, Plaintiff has shown that it has established a prima facie case for infringement, (id.

at 7-8), and that it cannot identify Defendant without the internet service provider, (id. at 11).

Moreover, a Rule 26 Conference cannot take place until the identity of Defendant is known and

Defendant has been served. Plaintiff has, therefore, shown good cause to conduct limited

discovery prior to a Rule 26 Conference. See, e.g., Manny Film LLC, 2015 WL 12850566, at *1;

Malibu Media, LLC v. Doe, No. 2:13-cv-8-FtM-38DNF, Doc. 5, (M.D. Fla. Jan. 9, 2014). The

Court will allow Plaintiff to conduct limited discovery by serving a subpoena on the internet

service provider to determine the name and address of Defendant to whom the internet service

provider assigned an IP address as set forth in Exhibit A to the Complaint (Doc. 1-1) or any other

service provider that is later identified in response to this initial subpoena.

        As a final matter, the Court finds that due to the nature of the case, certain procedural

safeguards are warranted. As noted in Manny Film LLC v. Doe, No. 8:15-cv-507-T-36EAJ,

2015 WL 12850566, at *2 (M.D. Fla. May 18, 2015):

                [T]he individual who pays for internet access at a given IP address
                may not be the same individual who engaged in the infringing
                activity. There is a risk that a non-infringing party could be
                identified and served. . . . “By defining Doe Defendants as ISP




                                                   4
Case 2:19-cv-00142-SPC-MRM Document 9 Filed 04/09/19 Page 5 of 7 PageID 77



              subscribers who were assigned certain IP addresses, instead of the
              actual Internet users who allegedly engaged in infringing activity,
              Plaintiff’s sought-after discovery has the potential to draw numerous
              innocent internet users into the litigation, placing a burden upon
              them that weighs against allowing the discovery as designed.” At
              the same time, the privacy concerns of non-infringers are not
              sufficient to deny Plaintiff access to the discovery sought because,
              without it, Plaintiff cannot proceed with its case. Therefore, certain
              procedural protections are warranted before any identifying
              information is made public.

Id. (quoting SBO Pictures, Inc. v. Does 1-3036, No. 11-4220 SC, 2011 WL 6002620, at *3 (N.D.

Cal. Nov. 30, 2011)). The Court finds Manny Film LLC instructive and adopts the procedural

safeguards outlined in that case. Id. at *2-3 (citing Malibu Media, LLC v. Does 1-22, No. 8:12-

cv-1074-T-23AEP, Doc. 13, (M.D. Fla. July 9, 2012); In re BitTorrent Adult Film Copyright

Infringement Cases, 296 F.R.D. 80, 92 (E.D.N.Y.), report and recommendation adopted sub

nom., Patrick Collins, Inc. v. Doe 1, 288 F.R.D. 233 (E.D.N.Y. 2012)).

       Accordingly, the Court hereby ORDERS that:

       1) Plaintiff’s Motion for Leave to Serve a Third-Party Subpoena Prior to a Rule 26(f)

           Conference (Doc. 8) is GRANTED.

       2) Plaintiff is permitted limited discovery to serve a subpoena to determine the name and

           address of the Defendant to whom the internet service provider assigned an IP

           address as set forth in (Doc. 1-1) or any other service provider that is later identified

           in response to this initial subpoena.

       3) Plaintiff shall attach a copy of this Order with the subpoena, and if the internet service

           provider qualifies as a “cable operator” as defined in 47 U.S.C. § 522(5), then this

           Order shall be considered an appropriate court order under 47 U.S.C. § 551.

       4) Any internet service provider that receives a subpoena pursuant to this Order shall not

           assess any charge to Plaintiff in advance of providing the information requested in the




                                                   5
Case 2:19-cv-00142-SPC-MRM Document 9 Filed 04/09/19 Page 6 of 7 PageID 78



        subpoena. However, an internet service provider may elect to charge a reasonable

        amount for the costs of production.

     5) Any internet service provider that receives a subpoena shall preserve all subpoenaed

        information pending the internet service provider delivering such information to

        Plaintiff or the final resolution of a motion to quash the subpoena.

     6) Any information disclosed to Plaintiff in response to a subpoena may be used by

        Plaintiff solely for the purposes of protecting and enforcing Plaintiff’s rights as set

        forth in its Complaint.

     7) The applicable internet service provider shall withhold the identifying information of

        any person who files a motion to quash the subpoena until the motion is resolved and

        the Court enters an order authorizing the disclosure.

     8) Plaintiff shall adhere to the following procedures:

            a. In all written or oral communications with Defendant, Plaintiff’s attorneys

                shall identify themselves as representing Plaintiff and not representing the

                interests of Defendant and must inform Defendant that any statements made

                by Defendant may be used against Defendant;

            b. If Defendant contacts Plaintiff, Plaintiff shall inform Defendant of

                Defendant’s right to hire legal counsel to represent Defendant in this matter;

            c. At any time, Defendant may inform Plaintiff by phone or written

                communication that Defendant does not want any further communications

                with Plaintiff until Plaintiff serves Defendant in this matter;

            d. Plaintiff must notify in writing Defendant, or, if represented, Defendant’s

                counsel, of Plaintiff’s intent to name and serve Defendant at least fourteen




                                               6
Case 2:19-cv-00142-SPC-MRM Document 9 Filed 04/09/19 Page 7 of 7 PageID 79



                  (14) days prior to seeking issuance of a summons from the Clerk for the

                  identified Defendant.

       DONE AND ORDERED in Fort Myers, Florida on April 9, 2019.




Copies furnished to:

Counsel of Record
Unrepresented Parties




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